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 5                                                                            Robert J. Bryan, U.S. District Judge

 6
                                   UNITED STATES DISTRICT COURT
 7                           FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 8
     BRETT GOSSETT,
 9                                                           NO. 20-cv-05639-RJB
                                              Plaintiff,
10
             vs.                                             [PROPOSED]
11                                                           ORDER GRANTING DEFENDANTS'
     PIERCE COUNTY AND PIERCE COUNTY                         12(b)(6) MOTION TO DISMISS
12
     SHERIFF'S DEPARTMENT, AND DEPUTY
     MARC PETERSHAGEN,                                       Noted on Motion Docket: July 31, 2020
13

14                                        Defendants.

15            The motion of Defendants Pierce County, Pierce County Sheriff's Department, and

16    Deputy Marc Petershagen for dismissal of Plaintiff Brett Gossett's claims against it pursuant to

17    Federal Rule of Civil Procedure 12(b)(6) came on regularly before the Court on July 31, 2020.

18            In ruling upon Defendants' motion for dismissal, the Court has considered the following:

19            1.       Defendants' 12(b)(6) Motion to Dismiss;

20            2.       Plaintiff's Response; and

21            3.       Defendants' Reply.

22            The Court has considered all materials submitted in support of and in opposition to the

23    motion for dismissal, and finds that Plaintiff Brett Gossett has failed to state a claim upon which

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     ORDER GRANTING DEFENDANTS' 12(b)(6) MOTION TO DISMISS - 1          Pierce County Prosecuting Attorney/Civil Division
     Gossett 12(b)(6) ORD.docx                                          955 Tacoma Avenue South, Suite 301
     Cause No. 20-cv-05639-RJB                                          Tacoma, Washington 98402-2160
                                                                        Main: (253) 798-6732 / Fax: (253) 798-6713
                Case 3:20-cv-05639-RJB Document 5-2 Filed 07/08/20 Page 2 of 2



 1    relief may be granted and that Defendants Pierce County, Pierce County Sheriff's Department,

 2    and Deputy Marc Petershagen are entitled to dismissal as a matter of law. Therefore, it is hereby

 3            ORDERED, ADJUDGED, AND DECREED that Defendants' motion for dismissal is

 4    hereby GRANTED and that all claims of Plaintiff Brett Gossett are hereby DISMISSED with

 5    prejudice.

 6            DONE IN OPEN COURT this _____ day of _______________, 2020.

 7

 8                                                      ROBERT J. BRYAN
                                                        U.S. District Court Judge
 9
      Presented by:
10
      MARY E. ROBNETT
11    Prosecuting Attorney

12    s/ KRISTAL M. COWGER
      KRISTAL M. COWGER, WSBA # 43079
13    Pierce County Prosecutor / Civil
      955 Tacoma Avenue South, Suite 301
14    Tacoma, WA 98402-2160
      Ph: 253-798-4265 / Fax: 253-798-6713
15    kristal.cowger@piercecountywa.gov

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